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                                AMENDED Conditions of Release
                                 Docket # 2:10-CR-00223-JAM
                                         Hoda Samuel

1.     You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

2.     You shall report in person to the Pretrial Services Agency on the first working day following your
       release from custody;

3.     You are to reside at a location approved by the pretrial services officer and not move or absent
       yourself from this residence for more than 24 hours without the prior approval of the pretrial services
       officer;

4.     Your travel is restricted to the Eastern District of California without the prior consent of the pretrial
       services officer;

5.     You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon;
       additionally, you shall provide written proof of divestment of all firearms/ammunition currently
       under your control;

6.     You shall refrain from excessive use of alcohol or any use of a narcotic drug or other controlled
       substance without a prescription by a licensed medical practitioner; and you shall notify Pretrial
       Services immediately of any prescribed medication(s). However, medicinal marijuana, prescribed
       or not, may not be used;

7.     You shall not associate or have any contact with the co-defendants unless in the presence of counsel
       or otherwise approved in advance by the pretrial services officer;

8.     You shall report any contact with law enforcement to your pretrial services officer within 24 hours;

9.     You shall surrender your passport to the Clerk, U.S. District Court, and obtain no passport during
       the pendency of this case;

10.    You shall submit to DNA testing as directed by the United States Attorney’s Office (stayed).

11.    You shall participate in a program of medical or psychiatric treatment, including treatment
       for drug or alcohol dependency, as approved by the pretrial services officer. You shall pay all
       or part of the costs of the counseling services based upon your ability to pay, as determined by
       the pretrial services officer;

12.    CURFEW: You are restricted to your residence every day as directed by the pretrial services
       officer. You shall call Pretrial Services daily from your home telephone land line as directed
       by your Pretrial Services Officer. This does not include location monitoring equipment.

January 29, 2013
